  Case 11-33448       Doc 85     Filed 02/04/20 Entered 02/04/20 16:44:17             Desc Main
                                   Document     Page 1 of 2


                      N THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
In Re:
                                       *
                                       *          Case No. 11-bk-33448
STEVEN LEE SORENSEN,                   *           Hon. LaShonda A. Hunt
TINA L. SORENSEN,                      *           (Joliet City Hall, 2nd Floor)
                                       *           Status Date: February 7, 2020,
                                       *           at 9:30 a.m.
                                       *
                       Debtor(s)       *
                                       *                   Chapter 7
                                       *
                                       *
______________________________________________________________________________

 NOTICE OF EICH LAW OFFICE, PROF. LLC’S RENEWED MOTION TO STRIKE
   DEBTORS’ MOTION PURSUANT TO 11 U.S.C. SECTIONS 524 AND 105 FOR
  VIOLATIONS OF THE DISCHARGE INJUNCTION AND FED.R.BANKR.P. 9020
     SEEKING SANCTIONS FOR CIVIL CONTEMPT AGAINST KEITH A.
SCHALLENKAMP, PAULSON LAW FIRM, PLLC, AND EICH LAW OFFICE, PROF.
LLC FOR FAILURE TO COMPLY WITH LOCAL BANKRUPTCY RULE 9020-1 AND
                    FAILURE TO PLEAD DAMAGES


To:      Majdi Y. Hijazin                             James J. Siwek
         Sulaiman Law Group, Ltd.                     The Siwek Law Office, Ltd.
         2500 South Highland Ave., Ste. 200           7667 W. 95th St., Ste. 209
         Lombard, IL 60148                            Hickory Hills, IL 60457
         Telephone: (630) 575-8181                    Telephone: (708) 308-1473
         Facsimile: (630) 575-8188                    Facsimile: (708) 570-1302
         Email: mhijazin@hijazinlaw.com               Email: siweklaw@comcast.com


         PLEASE TAKE NOTICE that on February 7, 2020, at 9:30 a.m., the undersigned will
appear before the Honorable LaShonda A. Hunt at the Joliet City Hall, 150 West Jefferson
Street, 2nd Floor, Joliet, Illinois 60432, and will then and there present Eich Law Office, Prof.
LLC’s Renewed Motion to Strike Debtors’ Motion Pursuant to 11 U.S.C. Sections 524 and 105
for Violations of the Discharge Injunction and Fed.R.Bankr.P. 9020 Seeking Sanctions for Civil
Contempt Against Keith A. Schallenkamp, Paulson Law Firm, PLLC, and Eich Law Office, Prof
LLC for Failure to Comply with Local Bankruptcy Rule 9020-1 and Failure to Plead Damages.

                                                  1
Case 11-33448     Doc 85     Filed 02/04/20 Entered 02/04/20 16:44:17        Desc Main
                               Document     Page 2 of 2




    Dated this 4th day of February, 2020.


                                                VENIS AND COPP, LLP

                                            By: /s/ Frank P. Venis
                                                Frank P. Venis
                                                205 W. Randolph Street, Suite 2000
                                                Chicago, IL 60606
                                                Telephone: (312) 469-0707
                                                Email: Venis@venisandcopp.com




                                            2
